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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                               Plaintiff,

v.                                                     CRIMINAL ACTION NO. 2:95-cr-00198-02

TREVOR LITTLE,

                               Defendant.



                          MEMORANDUM OPINION AND ORDER

       Pending before the court is the movant’s motion to correct court’s erroneous delegation to

Bureau of Prisons to make payment schedule for fine imposed [Docket 510]. This action was

referred to the Honorable Mary E. Stanley, United States Magistrate Judge, for submission to this

court of proposed findings of fact and recommendation for disposition, pursuant to 28 U.S.C. §

636(b)(1)(B). The Magistrate Judge has submitted findings of fact and recommended that the court

deny the defendant’s motion because this court lacks jurisdiction over the defendant’s motion, which

should have been brought pursuant to 28 U.S.C. § 2241. Because the defendant is confined in the

United States Penitentiary in Pollock, Louisiana, the Magistrate Judge found that the defendant must

file his petition in the United States District Court for the Western District of Louisiana, Alexandria

Division. See 28 U.S.C. § 2241.

       The defendant timely filed written objections to the Magistrate Judge’s findings of fact and

recommendation. Mr. Little objects to the Magistrate Judge presiding over his criminal action. He

asserts that he did not consent to have his motion decided by a Magistrate Judge pursuant to 28

U.S.C. § 636(c). The defendant misconstrues the nature of a referral to a Magistrate Judge. When
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a court refers a matter to a Magistrate Judge for submission to the court of proposed findings of fact

and recommendation for disposition, pursuant to 28 U.S.C. § 636(b)(1)(B), it is the district court

who ultimately decides the case. The Magistrate Judge provides a recommendation, however, that

recommendation is not binding in any way upon the court. Moreover, the district court conducts a

de novo review of a movant’s claims if the Magistrate Judge’s findings and recommendations are

objected to by either party. Mr. Little’s consent would only be required if the court had delegated

to the Magistrate Judge the authority to enter judgment in the case pursuant to 28 U.S.C. § 636(c).

Here, that was not the case. This case was referred to the Magistrate Judge under § 636(b)(1)(B).

Accordingly, the defendant’s objection to having the Magistrate Judge presiding over his case is

DENIED.

       Having reviewed the defendant’s remaining objections de novo, I find that they are without

merit. Accordingly, the court ADOPTS and incorporates herein the findings and recommendation

of the Magistrate Judge, and DENIES the defendant’s motion.

       The court DIRECTS the Clerk to send a certified copy of this Order to Magistrate Judge

Stanley, counsel of record, and any unrepresented party.

                                                       ENTER:         April 3, 2007




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